IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

SEAN PENMAN; JOHN SPARR,

No.: 3:13-CV-030
Jury Trial Demanded

Plaintiffs,

VS.

CINCINNATI, NEW ORLEANS & TEXAS
PACIFIC RAILWAY COMPANY, a
corporation, NORFOLK SOUTHERN
RAILWAY COMPANY, a corporation,

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Defendants.

ANSWER TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

For answer to Plaintiffs’ First Amended Complaint, the Defendants, Cincinnati, New
Orleans & Texas Pacific Railway Company (hereinafter “CNOTP”) and Norfolk Southern
Railway Company (hereinafter “NSRC”), say as follows:

(1) The allegations of Paragraph 1 of the Amended Complaint are admitted.

(2) The allegations of Paragraph 2 of the Amended Complaint are admitted insofar as
they are intended to relate to the Defendant, NSRC, but denied insofar as they are intended to
relate to CNOTP.

(3) The allegations of Paragraph 3 of the Amended Complaint are admitted insofar as
they relate to railroad operations involving freight. Otherwise, the allegations of this paragraph
are denied.

(4) The allegations of Paragraph 4 of the Amended Complaint are admitted insofar as

they relate to CNOTP. Otherwise, they are denied.

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(5) It is admitted that Plaintiffs bring this action pursuant to the terms and provisions
of the Federal Employer’s Liability Act but it is denied that either Plaintiff would be entitled to
any recovery whatsoever pursuant to the Act. It is further admitted that Plaintiffs bring this action
pursuant to the terms and provisions of the Federal Rail Safety Act, 49 U.S.C. § 20109
(hereinafter FRSA). Both Plaintiffs have previously challenged their discipline in final and
binding arbitration under the Railway Labor Act (RLA), 45 U.S.C. § 151 et seq. Both Plaintiffs
have made a final and binding Election of Remedies pursuant to the FRSA Election of Remedies
Provision, 49 U.S.C. § 20109(f), that bars them from challenging the same Act - the alleged
wrongful dismissals - separately under the FRSA. The RLA Arbitration Board upheld Plaintiff
Sparr’s dismissal and modified Plaintiff Penman’s discipline by ordering his reinstatement
without pay. Furthermore, both Plaintiffs brought their FRSA retaliation or “whistle blower”
claims first to the United States Department of Labor’s (DOL) Occupational and Safety Health
Administration (OSHA) and after having their claims denied, requested a denovo review before
DOL’s Office of Administrative Law Judge. It is denied that either Plaintiff would be entitled to
any recovery whatsoever pursuant to the FRSA.

(6) The Defendants admit jurisdiction for Plaintiffs’ FELA claims but deny that
this Court has jurisdiction to consider the FRSA claims as the FRSA claims are barred.

(7) On January 21, 2010, Plaintiff Penman was employed as a Conductor and Plaintiff
Sparr was cniplaved as a Locomotive Engineer, Both Plaintiffs moved a train from one part of
the Oakdale Yard to another part of the Oakdale Yard within yard limits. The remaining

allegations of Paragraph 7 of the Amended Complaint are denied.

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(8) The lead locomotive in the Consist, NS8886 was found to have a ruptured
diaphragm on the electronic air brake causing noise. It is admitted Plaintiffs reported to the
dispatcher the noise and, as a result, mechanical forces were dispatched to Oakdale for the
purpose of inspecting the engine. Except as thus explained, the remaining allegations of
Paragraph 8 of the Amended Complaint are denied.

(9) After the noise was reported by the Plaintiffs to the dispatcher, Plaintiffs were
instructed to move the train to the north area of the yard and wait for mechanical forces to arrive
to inspect the engine. Both Plaintiffs were provided with and, at all times, wore hearing
protection of the type and nature that substantially reduced the level of sound to the ear. The
remaiming allegations of Paragraph 9 of the Amended Complaint are denied.

(10) After mechanical forces had inspected the lead locomotive, NS 8886, it is
believed the engine was shut down and ultimately removed from the consist and taken to another
place in the yard. Later, NSRC Trainmasters arrived first for the purpose of determining if either
Plaintiff had been injured in any way and, if so, to facilitate medical treatment if necessary and,
secondly, to conduct an investigation into the facts and circumstances relating to the condition of
the engine as was their duty and responsibility. It is admitted that Plaintiff Penman, told one of
the Trainmasters that he had ringing in his ear as a result of exposure to the noise but that he did
not require medical examination or treatment. In any event, he filled out a Personal Injury Report
pursuant to NSRC established work rules. Again, both Plaintiffs informed the Trainmaster that
they had, at all times, worn their hearing protection. Except as thus explained, the allegations of

Paragraph 10 of the Amended Complaint are denied.

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(11) _ It is admitted that the trainmaster spoke with Plaintiff Sparr. It is admitted that
Plaintiff Sparr informed the Trainmaster that he had worn his hearing protection at all times and
although he heard the noise, he experienced no ringing in his ear or any injury and he had
suffered no adverse effect from the noise. It is admitted that Plaintiff Sparr did not fill out a
Personal Injury Report. Except as thus explained, the allegations of Paragraph 11 of the
Amended Complaint are denied.

(12)  Itis admitted that without notice to the Defendant and contrary to NSRC rule,
Plaintiff Sparr apparently was seen by an ear, nose and throat doctor on March 15, 2010. At this
time, the Defendants are without knowledge or information sufficient to form a belief as to the
truth of the remaining allegations of Paragraph 12. It is denied that Plaintiff Sparr suffered a
permanent hearing loss as claimed.

(13) After receiving notice by letter from counsel for the Plaintiffs of representation
Terminal Superintendent Thomas M. Dunlap, as was his duty and responsibility under Norfolk
Southern rules, contacted Plaintiff Sparr. Pursuant to Norfolk Southern rule, Mr. Sparr completed
a Personal Injury Report.

(14)  Itis admitted that Terminal Superintendent Dunlap interviewed Plaintiff Penman
who provided contrary information to others concerning the facts and circumstances surrounding
the events that took place on January 21, 2010.

(15) The Defendant, NSRC dismissed both Plaintiffs on May 7, 2010, following
formal investigative hearings conducted in accordance with applicable collective bargaining
agreements with each Plaintiff's Union. The hearings took place on April 22, 2010 Plaintiff,

Conductor Penman, was discharged after it was determined that he had first, made false and

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conflicting statements on April 5, 2010, during NSRC’s investigation of an alleged injury of
January 21, 2010, to Plaintiff, Engineer Sparr, and second, for his own failure to notify NSRC of
medical treatment he had received for his own alleged injury arising from the same incident.
Both offenses violated well established NSRC rules. Plaintiff Sparr was discharged after it was
determined that he had first, made false and conflicting statements on April 5, 2010, during
NSRC’s investigation into his alleged injury of January 21, 2010, and second, improperly
delayed the reporting of that alleged injury and third, failed to notify NSRC of medical treatment
he had received as a result of the alleged injury in violation of well established NSRC rules.

(16) The allegations of Paragraph 16 of the Amended Complaint are denied. It is
denied that the Defendants violated or interfered with any protected activity pursuant to the
FRSA.

(17) Both Plaintiffs made a final and binding election to pursue separate remedies
available to them under the Railway Labor Act, 45 U.S.C. § 151 et seq. (RLA). As a result,
Plaintiff Sparr’s dismissal was upheld and Plaintiff Penman’s dismissal was set aside and
Plaimutf Penman was returned to service without pay for time lost.

(18) The aflexeitions of Baers 18 of the Amended Complaint are admitted.
Following an investigation, the Secretary of Labor, acting through her agent, the Regional
Administrator for the Occupational Safety and Health Administration (OSHA), Region IV, found
in both cases that there was no reasonable cause to believe that the Defendant had violated 49
U.S.C. § 20109 and specifically found that there was not sufficient evidence to establish that the
Defendant’s actions were motivated by retaliation for protected activity. Consequently. both

claims were dismissed.

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(19) It is admitted that OSHA found no reasonable cause to believe that the Defendant
had violated 49 U.S.C. § 20109 and consequently dismissed both Plaintiffs’ claims.

(20) The allegations of Paragraph 20 of the Amended Complaint are admitted.

(21) Again, both Plaintiffs waived their rights to pursue a remedy under the FRSA
because they made a final and binding election to pursue separate remedies available to them
under the RLA 45 U.S.C. § 151 ef seq. The remaining allegations of Paragraph 21 of the
Amended Complaint are admitted.

(22) The allegations of Paragraph 22 of the Amended Complaint are denied.

(23) The allegations of Paragraph 23 of the Amended Complaint are denied.

(24) The allegations of Paragraph 24 of the Amended Complaint are denied.

(25) The allegations of Paragraph 25 of the Amended Complaint are denied.

(26) The allegations of Paragraph 26 of the Amended Complaint are denied.

(27) The allegations of Paragraph 27 of the Amended Complaint and each of its
sub-paragraphs are denied.

(28) The allegations of Paragraph 28 of the Amended Complaint are denied. It is
denied either Plaintiff would be entitled to any recovery pursuant the FELA as claimed.

(29) The allegations of Paragraph 29 of the Amended Complaint and each of its
sub-paragraphs are denied. It is denied either Plaintiff would be entitled to any recovery

whatsoever pursuant to the FRSA.

SECOND DEFENSE

(30) Both Plaintiffs were provided with hearing protection, receiving training for and

participated in the Defendant, NSRC’s Hearing Conservation Program. Both Plaintiffs claim they

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were wearing hearing protection and certainly had been trained to recognize and avoid an
excessively noisy environment and follow Defendant’s safety rules promulgated for their own
safety and protection. Consequently, the Defendants reserve the right to rely upon the Doctrine of
Contributory Negligence after engaging in preliminary pretrial discovery procedures.
THIRD DEFENSE
(31) The Defendants further reserve the right to rely upon the Doctrine of Failure to
Mitigate if such defense is warranted by the evidence after engaging in preliminary pretrial

discovery procedures.

FOURTH DEFENSE

(32) It is denied either Plaintiff would be entitled to any recovery for medical expenses
for the reason that pursuant to a contract between the Defendants’ and the Plaintiffs’ Unions,
Plaintiffs’ medical expenses would have already been paid by the Defendants. Plaintiffs would
not be entitled to a double recovery for medical expenses.

FIFTH DEFENSE

(33) |The Amended Complaint fails to state a claim upon which relief can be granted

as to the Defendant, Cincinnati, New Orleans & Texas Pacific Railway Company.

SIXTH DEFENSE

(34) The joinder of Plaintiffs’ four claims is improper and should be severed in that
any injury or condition relating to each Plaintiffs hearing, would represent a condition peculiar
to each Plaintiff himself and it would be improper for both claims to be tried before the same jury

at the same time.

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SEVENTH DEFENSE

(35) This Court does not have jurisdiction pursuant to 49 U.S.C. § 20109(d)(3) for the
reason that both Plaintiffs already sought protection under “another provision of the law, the
Railway Labor Act, 45 U.S.C. § 151-188 (RLA)” for the same allegedly unlawful act of the
Defendant, NSRC, and therefore Plaintiffs’ Complaints are barred by 49 U.S.C. § 20109(f).

EIGHTH DEFENSE

(36) Both Plaintiffs have waived their rights to pursue a remedy under the FRSA
because they have made a final and binding election to pursue separate remedies available to
them under the RLA, 45 U.S.C. § 151-188.

NINTH DEFENSE

(37) Plaintiffs’ claims and separate remedies available to them under the RLA, have
already been decided with Plaintiff Sparr’s dismissal upheld in all respects and Plaintiff
Penman’s return to service but without pay for time lost.

TENTH DEFENSE

(38) Some or all of both Plaintiffs’ claims are precluded and/or preempted by the

RLA 49 U.S.C. § 151 et seg.

ELEVENTH DEFENSE

(39) Plaintiff's FRSA claims are barred by res judicata, collateral estoppel, and/or

arbitration and award.

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TWELFTH DEFENSE

(40) Even if either Plaintiff could prove an unlawful discriminatory motive for any of
their claims, which the Defendants deny, Plaintiffs’ claims fail in whole or in part because NSRC
would have made the same employment decisions not withstanding any discriminatory motive.

THIRTEENTH DEFENSE

(41) This Court further lacks jurisdiction over the subject matter of some or all of
Plaintiffs’ claims because such claims are “minor disputes” under the RLA 45 U.S.C. § 151-188
and are subject to the mandatory and exclusive jurisdiction of a Board of Arbitration established
by that law.

FOURTEENTH DEFENSE

(42) Both Plaintiffs have admitted that they violated Rule “N” of Defendant’s rules and
consequently both Plaintiffs’ claims, pursuant to the FRSA, should be dismissed as failing to
state a claim upon which relief can be granted.

FIFTEENTH DEFENSE

(43) Defendants’ dismissal decisions were reached pursuant to the applicable
collective bargaining agreement agreed upon by both Plaintiffs’ Union and the Defendant, and
were reasonable and supported by the evidence and were not motivated by retaliation for any

form of protected activity.

SIXTEENTH DEFENSE

(44) To the extent that Plaintiffs seek punitive damages, such damages are barred
because the alleged act or omissions of the Defendants fail to rise to the level required to sustain

an award of punitive damages, do not evidence a malicious or reckless intent to deny Plaintiffs’

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protected rights and are not so wanton or willful to support an award of punitive damages. Both
Plaintiffs have failed to state a claim for punitive damages under any law.

SEVENTEENTH DEFENSE

(45) Any award of punitive damages or vindictive damages, will violate procedural
safeguards guaranteed to Defendants by the 5" and 6" Amendments to the United States
Constitution. All Plaintiffs’ claims for punitive and vindictive damages are barred.

EIGHTEENTH DEFENSE

(46) Punitive damages are not allowed pursuant to the terms and provisions of the
Federal Employer’s Liability Act.

NINETEENTH DEFENSE

(47) Furthermore, the addition of two FRSA retaliation claims to two FELA injury
claims, will unnecessarily complicate and confuse the cases at the undue prejudice of the
Defendants and should be severed and tried before different juries.

TWENTIETH DEFENSE

(48) The FRSA claims should be severed from the FELA claims.

TWENTY-FIRST DEFENSE

(49) The Defendants, with the Court’s permission, reserves the right to plead further
after engaging in preliminary pretrial discovery procedures.

WHEREFORE, the Defendants pray that they be dismissed and demand trial by a jury.

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CERTIFICATE OF SERVICE

[ hereby certify that on May 30, 2013, a copy of the foregoing Answer to Plaintiffs’ First
Amended Complaint, was filed electronically. Notice of this filing will be sent by operation of
the Court's electronic filing system to all parties indicated on the electronic filing receipt. All
other parties will be served by regular U.S. mail. Parties may access this filing through the
Court’s electronic filing system.

S/ John W. Baker, Jr., Esq.

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